 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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ZAKUNDA-ZE HANDBERRY, et al.,                                       :
                                                                    :
                                   Plaintiffs,                      : 96 Civ. 6161 (GBD)
                                                                    :
                 against                                            :
                                                                    :
WILLIAM C. THOMPSON, JR., et al.,                                   :
                                                                    :
                                   Defendants.                      :
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 PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO CITY DEFENDANTS’
 MOTION FOR PARTIAL CONFIRMATION OF THE THIRD MONITORING REPORT
              AND OPPOSITION TO PLAINTIFFS’ OBJECTIONS



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I.         Preliminary Statement

           As the Court is well aware, this case concerns the long fight to protect Plaintiffs’ right to

an education. Following a 2002 finding that the City Defendants were violating Plaintiffs’

rights, multiple years of appeals, and court-supervised settlement negotiations, the Court referred

the matter to the Honorable James C. Francis IV. See Pls.’ Mem. in Response to Defs.’ Objs. At

2 (Doc. No. 185). In order to facilitate the Second Circuit’s mandate to provide Plaintiffs with

their education and to ensure that the Court remained apprised of the circumstances in City jails,

Judge Francis appointed Dr. Leone to “collect information and report to the Court with respect to

the current status of provision of educational services at [Department of Correction] facilities.”

Order Appointing Special Master (“2014 Order”) at 2 (Doc. No. 203). In 2016, this Court issued

a clear Order requiring that the City Defendants comply with five specific mandates, and

reauthorized Dr. Leone to continue monitoring the status of Plaintiffs’ education. Order of

March 31, 2016 (“2016 Order”), at 2 (Doc No. 250). This order included, inter alia, the

requirement that “[a]ll eligible inmates shall be provided a minimum of 3 hours of educational

services every school day,” and that “[p]lacement in a restricted housing unit does not change an

eligible inmate’s entitlement to educational services under any provision of this Order.” Id.

           This past fall, the City Defendants moved to partially terminate the injunctive relief and,

during the pendency of that motion, the Plaintiffs objected to Dr. Leone’s reports. Mot. to

Partially Terminate Prospective Relief (Doc. No. 271); Mem. in Supp. of City Defs.’ Mot. to

Terminate (Doc. No. 272); Pls.’ Objs. to Second and Third Monitoring Reports (Doc. No. 284)

(“Objs. to Monitoring Reports”).1 After receiving Plaintiffs’ opposition to the termination



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    Plaintiffs’ Objections were filed in accordance with the Court’s scheduling order. See Order (Doc. No. 277).
    Defendants sought additional time to “respond to plaintiffs’ objections to Dr. Leone’s Second and Third Reports.”
    Order (Doc. No. 292). Days later, they submitted instead this oddly-styled “Motion for Partial Confirmation.”
motion, but before responding to Plaintiffs’ objections to Dr. Leone’s reports, the City

Defendants’ withdrew the termination motion. Order (Doc. No. 288). The City Defendants’

ultimately responded to Plaintiffs’ objections on December 18, 2018, while simultaneously

requesting that the Court “confirm” parts of Dr. Leone’s Reports by improperly casting him as a

Rule 53 Special Master. 2

        As detailed below, such a request is inappropriate, a waste of the Court’s time, and does

nothing to progress this case towards resolution. Instead, Plaintiffs’ request that the Court

reappoint Dr. Leone and task him with reporting to the court on current compliance with the

Court’s Remedial Order.3

        Since Dr. Leone’s 2016 reappointment as this Court’s expert and monitor, this case’s

factual landscape has remained in flux. Last year, it grew even more unstable after New York

City implemented the laudable “Raise the Age” statute, and shuttered the jail holding many of

class members, significantly altering educational programming. Dr. Peter Leone's third

monitoring report4 focuses on conditions prior to these developments, not the current conditions

in the new facilities that now house the youngest class members. In addition, Plaintiffs’ have

identified substantial problems with Dr. Leone’s Reports, which have yet to be ruled upon by the

Court. Objs. to Monitoring Reports.

        Given the scope of the remaining disputes between the parties concerning City

Defendants’ compliance with the remedial order and the timeliness and accuracy of Dr. Leone’s



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  Mot. for Partial Confirmation of the Special Master’s Third Report and in Opp’n to Pls.’ Objs. (Doc. No. 293);
Mem. of Law in Supp. of City Defs.’ Mot. for Partial Confirmation of the Special Master's Third Report and in
Opp’n to Pls.’ Objs. (Doc. No. 294) ("Mot. for Partial Confirmation"); Decl. of Tonya Threadgill in Supp. of City
Defs.’ Mot. for Partial Confirmation of the Special Master’s Third Report and in Opp’n to Pls.’ Objs. (Doc. No. 295)
(“Threadgill Declaration”).
3
  March 31, 2016 Order (Doc. No. 250) (the “2016 Order”).
4
  Third Report on the Status of Education Services for Youth Aged 16-21 at Rikers Island (Doc. No. 273-2) (“Third
Report”).


                                                         2
Reports, even if the Court determines that Dr. Leone is a Rule 53 Special Master, the Court

should deny City Defendants’ motion and either afford Plaintiffs discovery and an evidentiary

hearing to assess the current state of the schools for incarcerated youth, or resubmit the Third

Report to Dr. Leone with instructions to supplement his findings based on what are undisputedly

new conditions.

II.     The Court Should Continue the March 31, 2016 Remedial Order and Reappoint Dr.
        Leone as the Court’s Monitor and Expert.

        The Court should continue the Order and Dr. Leone's monitoring functions because the

City Defendants have yet to comply with the Order’s terms. Indeed, Dr. Leone’s Third Report

found continuing violations of the Court’s Order for access to school for 18-21 year olds --

findings the City Defendants do not dispute. This conceded lack of compliance alone requires

continuing relief and monitoring. In other areas, material disputes persist regarding the accuracy

of Dr. Leone’s findings concerning the City Defendants’ compliance with the remaining portions

of the Order and the weight they should be given. Objs. to Monitoring Reports at 5–11. Both

these undisputed areas of noncompliance and the areas still in dispute are cause for the Court to

reappoint Dr. Leone for an additional term of two years, notwithstanding the staleness of the

Third Report. See infra Section IV.B.

III.    The Court Should Deny City Defendants’ Motion to “Confirm” Dr. Leone’s
        Findings.

        The City Defendants’ motion to “confirm”5 portions of Dr. Leone’s report is based on a

mistaken impression of the procedural posture of this case. Dr. Leone is not a Rule 53 Special

Master because, despite the ambiguity of his title, he has not been vested with nor performed



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 City Defendants styled their motion as one for “confirmation” of Dr. Leone’s findings. In fact, City Defendants
ask the Court to either “adopt” or “affirm” Dr. Leone’s findings pursuant to Rule 53’s procedure for “action on a
master’s report.” Fed. R. Civ. P. 53(f)(1). For consistency, we use City Defendants’ terminology.


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quasi-judicial functions, but rather has collected and evaluated facts. This Court appointed Dr.

Leone not only pursuant to Rule 53, but also under the Court's inherent authority and as an

expert witness under Rule 706 of the Federal Rules of Evidence (“FRE 706”). Neither the Order

appointing Dr. Leone nor the 2016 Order reappointing him contemplated that the Court would

implement Rule 53’s process for action on Dr. Leone’s reports. 2014 Order at 2; 2016 Order at

2. Because Dr. Leone is not a Rule 53 Special Master, his findings are not subject to Rule 53

“confirmation.”

       The Second Circuit has held that in evaluating the legal status of court-appointed agents,

courts must be “guided more by their function than their title.” Benjamin v. Fraser, 343 F.3d 35,

47 (2d Cir. 2003) (citing Juan F. v. Weicker, 37 F.3d 874, 880 (2d Cir. 1994)), overruled on

other grounds, Caiozzo v. Koreman, 581 F.3d 63 (2d Cir. 2009). Both the 2014 Order

appointing Dr. Leone and the 2016 Order reappointing him refer to him as a monitor, an FRE

706 expert, and a Special Master. See 2014 Order at 2; 2016 Order at 2. But to determine

whether Dr. Leone is functionally a Special Master—and thus whether his findings are subject to

the Rule 53(f) process—the Court must consider Dr. Leone’s role in this litigation and determine

whether it aligns with a typical Special Master’s functions. See Fraser, 343 F.3d at 45 (holding

that a court-appointed monitoring agency was not a Special Master under the Prison Litigation

Reform Act because it served a “monitoring” function and did not exercise “quasi-judicial

power”); Prison Litigation Reform Act, 18 U.S.C. § 3626(g)(8) (defining a special master as

“any person appointed by a Federal Court pursuant to Rule 53 of the Federal Rules of Civil

Procedure or pursuant to any inherent power of the court to exercise the powers of the master,

regardless of the title or description given by the court.”).




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       The contents of the 2014 Order appointing Dr. Leone and the 2016 Order reappointing

him (to say nothing of the reports he has submitted) demonstrate that he functions as a court-

appointed monitor or an FRE 706 expert, not a Special Master. Per Rule 53, any court order

appointing an individual under the rule must state that individual’s duties, including any

investigation or enforcement duties, any limits on the individual’s authority, and any standards

for reviewing the master’s findings. Fed. R. Civ. P. 53(b)(2)(A), (D). In his original order

appointing Dr. Leone, Judge Francis referenced this case's “stale” record and made clear that Dr.

Leone’s primary role was to supplement and update that record. 2014 Order at 2 (Doc. No. 203).

For the entirety of his first monitoring period, Dr. Leone performed duties typical of an FRE 706

expert, not a Rule 53 Special Master: he exercised an informal advisory and monitoring function,

aided the court by collecting evidence to evaluate whether City Defendants were in compliance

with the then-existing order, and reported to the Court. See Gorton v. Todd, 793 F. Supp. 2d

1171, 1179–82, 85 (E.D. Cal. 2011) (surveying cases in which District Courts have considered

appointing FRE 706 experts and finding that the policy goal of FRE 706 is to promote accurate

fact-finding) (citing 29 Charles Alan Wright et al., Federal Practice and Procedure § 6304 (3d

ed. Supp. 2011)). The function of a court-appointed expert under FRE 706 is quite different

from that of a special master. See In re Zyprexa, 375 F. Supp. 2d 190, 192 (E.D.N.Y. 2005) (“[A

plaintiff-discovery special master’s] functions would be quite different from that of a court-

appointed scientific expert under Rule 706 of the Federal Rules of Evidence . . . . A plaintiff-

discovery special master would, in effect, utilize a hybrid quasi-administrative technique

combined with traditional adversary proceedings.”).

       In his order, Judge Francis cited the Court’s “inherent authority” to appoint Dr. Leone, in

addition to Rule 53. 2014 Order at 2. Judge Francis also limited Dr. Leone's role to the




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collection and evaluation of facts related to particular provisions of the then-existing order -- a

role typically served by a monitor, not a special master. Id. at 3. Similarly, in overruling City

Defendants’ objections to Judge Francis’s order, the Court clarified that the source of its

authority to appoint Dr. Leone was its “inherent authority” under FRE 706 in addition to Rule

53. Mem. Decision and Order (Doc. No. 207).

       On March 31, 2016, the Court reappointed Dr. Leone, ordering that he “continue” as the

Court’s “expert and monitor.” 2016 Order (Doc. No. 250). The Court did not cite a new source

for its authority to appoint Dr. Leone, or expand the scope of Dr. Leone's monitoring functions.

In fact, the Court's 2016 Order contemplated only motions for modification, reconsideration,

enforcement, and termination of the order itself, not Rule 53 motions to review or adopt Dr.

Leone’s fact findings. Id. at 2-3. For the pendency of the 2016 Order, Dr. Leone performed only

informal advisory and monitoring functions characteristic of a court-appointed monitor or FRE

706 expert, and remained responsible for “collecting and evaluating facts relating to the

provision of educational services.” 2014 Order at 3; 2016 Order at 2.

       Dr. Leone's responsibilities are also far more limited than those of a typical Rule 53

Special Master. A Rule 53 Special Master is a “quasi-judicial officer[]” with extensive powers

set forth in the text of Rule 53 itself. Benjamin, 343 F.3d at 45; Fed. R. Civ. P. 53(a). Examples

of a Special Master’s usual tasks are convening hearings “involving opening statements, the

placing of documents into evidence, formal stipulations of fact, a court reporter, the swearing in

of witnesses -- in short, effectively trial.” Id. Where a monitor does not exercise such quasi-

judicial power, but instead merely assists with the court’s gathering of facts, that monitor is not a

Rule 53 Special Master. Id.




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       Indeed, Dr. Leone was not tasked with exercising any quasi-judicial power. He was not

responsible for convening hearings, placing documents into evidence, or otherwise exercising

any quasi-judicial functions. The Court explicitly charged Dr. Leone with different and much

more circumscribed responsibilities. As a result, there is no need for (and no basis upon which)

Dr. Leone’s findings should be “confirmed” as if he were a Rule 53 expert. To do so would

improperly elevate Dr. Leone’s reports to that of a Special Master, with the attendant deference,

despite the fact he engaged in merely “informal advisory and monitoring functions.” Id.

IV.    The Court Should Not Adopt Dr. Leone’s Findings Without First Affording
       Plaintiffs an Opportunity to be Heard.

       Even if the Court determines Dr. Leone is a Rule 53 Special Master (and clearly it should

not), the City’s motion would be premature. Rule 53 first requires the Court to resolve the

factual objections the Plaintiffs have lodged to Dr. Leone’s Second and Third Reports. Fed. R.

Civ. P. 53(f)(3). Additionally, given the scope of the dispute about the relevance and validity of

Dr. Leone’s findings, the Court should afford Plaintiffs an opportunity to obtain discovery and

for the Court to receive evidence at an evidentiary hearing before acting on Dr. Leone’s Third

Report. See id. at (f)(1). Alternatively, the Court could resubmit the Third Report to Dr. Leone

and instruct him to supplement his findings. Id. As we made clear in our response to City

Defendants’ Motion to Terminate, Plaintiffs were entitled to discovery and a hearing to combat

that Motion and demonstrate the existence of current and ongoing violations of their federal

rights. Mem. of Law in Opp’n to Defs.’ Mot. for Partial Termination of Prospective Relief (Doc.

No. 278) (“Opp’n to Mot. to Terminate”) at 7-8. The Court should reject City Defendants’

runaround attempt to confirm Dr. Leone's Third Report based on an untested declaration without

Plaintiffs having the same opportunity to marshal evidence.




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       A.      The Court Should Decide De Novo Plaintiffs’ Outstanding Objections to Dr.
               Leone’s Second and Third Reports.

       Per Rule 53(f)(3), the Court must decide de novo all objections to findings of fact and

conclusions of law made or recommended by a master before acting on a special master’s report,

unless the parties, with the Court’s approval, stipulate otherwise. Fed. R. Civ. P. 53(f)(3). The

parties have not so stipulated, and Plaintiffs have not withdrawn their objections concerning the

relevance and accuracy of Dr. Leone’s findings. Objs. to Monitoring Reports. The Court must

decide on these disputes before taking further steps. See Peterson v. Islamic Republic of Iran,

No. 10-CV-4589, 2018 WL 3635356, at *1 (S.D.N.Y. July 30, 2018) (“In acting on a Special

Master’s report and recommendation, the Court is empowered to ‘adopt or affirm, modify wholly

or partly reject or reverse, or resubmit to the master with instructions.’ Before doing so,

however, the Court must ‘give the parties notice and an opportunity to be heard.’”) (internal

citations omitted).

       B.      After Ruling on Plaintiffs’ Objections, the Court should Grant Plaintiffs
               Discovery and a Hearing, or Resubmit the Third Report to Dr. Leone and Instruct
               Him to Supplement his Findings to Reflect Current Conditions.

       We will not burden the Court with restating the factual posture of this case. See Opp’n to

Mot. to Terminate; Objs. to Monitoring Reports. Most importantly for the purposes of the

pending motion, all of Dr. Leone's findings concerning 16 and 17 year-old class members are

now moot due to changed circumstances. Opp’n to Mot. to Terminate at 5; Objs. to Monitoring

Reports at 11-12. Since Dr. Leone issued his Third Report, all 16 and 17 year-old class members

have been transferred off Rikers Island and now reside in a new type of facility currently

operated jointly by the Department of Correction (DOC) and Administration for Children’s

Services. While we hope that this will improve the educational services to these youth, Plaintiffs

have had no independent access to information about the status of education programming for



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these class members. Dr. Leone did not report on City Defendants’ plans for education for these

students, and has not reported at all since City Defendants transferred these class members.

       City Defendants now inexplicably move the Court to adopt Dr. Leone’s most recent

findings concerning 16 and 17 year-old class members despite their admission that these findings

do not reflect current conditions in the new facility. See Mot. for Partial Confirmation at 3. City

Defendants argue that these findings are neither moot nor irrelevant and that the Court should

simply “confirm” them and assess their probative value at a later date. Id. As stated in

Plaintiffs’ Opposition to Defendants’ Motion to Terminate—since withdrawn—Dr. Leone’s

Third Report cannot be relied upon as evidence of the City Defendants’ compliance with the

remedial order because it does not reflect current educational conditions for 16 and 17 year-old

class members. It is difficult to understand why City Defendants ask the Court to “confirm”

these findings at this juncture. To do so would run counter to the purpose of the monitoring

process articulated by Judge Francis -- to promote the “speedy and efficient resolution of the . . .

litigation.” Mem. Decision and Order (Doc. No. 207). All parties agree that Dr. Leone's

findings are now stale. Instead of wasting its time evaluating Dr. Leone’s stale findings, the

court should instead hold a hearing to receive evidence regarding the current state of affairs, or

resubmit this matter to Dr. Leone to do the same. Fed. R. Civ. P. 53 (f)(1).

       For similar reasons, the Court should not adopt Dr. Leone's findings concerning 18 to 21

year-old class members. During the time Dr. Leone gathered facts, these class members were

concentrated at the George Motchan Detention Center (“GMDC”) on Rikers Island, pursuant to a

broader plan for managing the young adult population in the City’s jails. But last summer, after

Dr. Leone’s report, DOC closed GMDC and substantially revised its approach to young adult

housing. Most youth were transferred to a different Rikers jail, the Robert N. Davoren Complex




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(“RNDC”). Dr. Leone did not report on that planned transition and has not reported since the

transition took place. The publicly available reports cited in our prior papers indicate that

educational conditions at RNDC may be materially different from those at GMDC. Opp’n to

Mot. to Terminate at 5, 11–12; Objs. to Monitoring Reports at 11–12. We have not, however,

received discovery concerning the veracity of those public reports. Similarly, we have also

raised several material disputes with Dr. Leone’s findings concerning 18 to 21 year-old class

members. These material disputes have not been resolved.

       To support their motion for partial confirmation, City Defendants rely on evidence

outside the Monitor's findings that is exclusively in City Defendants’ control. Threadgill

Declaration. The Threadgill Declaration contains untested assertions regarding the educational

services available on Rikers Island. To be clear, the Threadgill Declaration has little to no

probative value as it does not speak to current conditions for any class member. What the

Threadgill Declaration does represent, however, is City Defendants’ unique and lopsided ability

to marshal evidence and discover facts. Fundamental fairness requires the Court to grant

Plaintiffs discovery and a hearing to ensure Plaintiffs have a comparable ability to present

evidence and rebut City Defendants’ assertions.

       In short, if this Court seeks to make factual findings under Rule 53, it should either grant

Plaintiffs discovery and a hearing or resubmit the Third Report to Dr. Leone and instruct him to

supplement his findings. Fed. R. Civ. P. 53(f)(1).

V.     Conclusion

       For the foregoing reasons, the Court should deny City Defendants’ Motion for Partial

Confirmation of Dr. Leone’s Third Report and instead renew the 2016 Order and Dr. Leone’s

appointment as its expert for a new term of two years. If it chooses instead to make Rule 53

findings, it should first decide Plaintiffs’ objections de novo, then either grant Plaintiffs


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